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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 MEREDITH ELIZALDE, individually and
 as Administratrix of the Estate of
 NICOLAS ELIZALDE,                                    Civil Action

                       Plaintiff,                     No. 24-cv-4494

                v.

 THE SCHOOL DISTRICT OF
 PHILADELPHIA,

                       Defendant.


                                           ORDER

       AND NOW, this 28th day of October, 2024, upon consideration of Defendant’s letter

requesting a pre-motion conference (ECF No. 11), and Plaintiff’s letter in response (ECF No. 13),

and the Court finding that a pre-motion conference to discuss Defendant’s proposed Motion to

Dismiss is unlikely to be helpful in resolving the Motion, it is hereby ORDERED that Defendant

shall, within fourteen (14) days of the date of this Order, file either a Motion to Dismiss or a

responsive pleading.



                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.
